               Case 1:10-cr-00131-LJO Document 132 Filed 06/21/12 Page 1 of 2


1    DANIEL J. BRODERICK, Bar #89424
     Federal Defender
2    CHARLES J. LEE, Bar #221057
     Assistant Federal Defender
3    Designated Counsel for Service
     2300 Tulare Street, Suite 330
4    Fresno, California 93721-2226
     Telephone: (559) 487-5561
5
     Attorney for Defendant
6    MARK MCGRATH
7
8                                    IN THE UNITED STATES DISTRICT COURT
9                                  FOR THE EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,             )              No. 1:10-cr-00131 AWI
                                           )
12                 Plaintiff,              )              STIPULATION AND [PROPOSED] ORDER TO
                                           )              CONTINUE SENTENCING HEARING
13     v.                                  )
                                           )              DATE: September 17, 2012
14   MARK MCGRATH,                         )              TIME: 10:00 A.M.
                                           )              JUDGE: Hon. Anthony W. Ishii
15                 Defendant.              )
     _____________________________________ )
16
17              IT IS HEREBY STIPULATED by and between the parties hereto through their respective
18   counsel that the sentencing hearing in the above-captioned matter now set for June 25, 2012, may be
19   continued to September 17, 2012 at 10:00 A.M.
20              This continuance is at the request of both parties as additional information is being developed
21   which both parties feel will be relevant at Mr. McGrath’s sentencing.
22              As this is a sentencing hearing, no exclusion of time is necessary.
23
                                                              Respectfully submitted,
24
                                                              BENJAMIN B. WAGNER
25                                                            United States Attorney
26
     DATED: June 20, 2012                                By: /s/ Karen Escobar
27                                                           KAREN ESCOBAR
                                                             Assistant United States Attorney
28                                                           Attorney for Plaintiff

     McGrath - Stipulation and Proposed Order
               Case 1:10-cr-00131-LJO Document 132 Filed 06/21/12 Page 2 of 2


1
                                                      DANIEL J. BRODERICK
2                                                     Federal Defender
3
     DATED: June 20, 2012                        By: /s/ Charles J. Lee
4                                                   CHARLES J. LEE
                                                    Assistant Federal Defender
5                                                   Attorney for Defendant
                                                    MARK MCGRATH
6
7
8
9
10
11                                              ORDER
12
     IT IS SO ORDERED.
13
14   Dated:     June 20, 2012
     0m8i78                                           CHIEF UNITED STATES DISTRICT JUDGE
15
16
17
18
19
20
21
22
23
24
25
26
27
28

     McGrath - Stipulation and Proposed Order     2
